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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

 IN RE: AQUEOUS FILM-FORMING
 FOAMS PRODUCTS LIABILITY                                  MDL No. 2:18-mn-2873-RMG
 LITIGATION
                                                         Case Management Order No. 12.C

                                                          This Order relates to ALL CASES




                          CASE MANAGEMENT ORDER NO. 12.C
                        (Tolling of Claims Against Certain Defendants)

       1.      This Order further amends the deadline by which a case pending in, or pending

transfer into, this MDL as of August 6, 2019, needs to make a motion to add a new party where

the parties have previously entered into an agreement to toll the applicable statute of limitations

pursuant to CMO 3E and CMO 12.

       2.      CMO 3E provides that any such motion to add new parties must be filed by

September 25, 2020 without prior leave of Court.

       3.     CMO 12 provides additional time, until March 3, 2022, to add certain parties who

had agreed with the Plaintiffs’ Executive Committee (“PEC”) to toll claims. Those partes are

listed in CMO 12, Paragraph 4, and are referred to herein as the Stipulating Defendants.

       4.     CMO 12 was amended in Paragraph 8 by CMO 12A, extending the Tolling Period to

December 31, 2022.

       5.     CMO 12 was later amended in Paragraph 8 by CMO 12B, which extended the

Tolling Period to June 30, 2023.

       6.      Pursuant to Paragraph 8 of CMO 12, this order amends Paragraph 7 of CMO 12

only—the duration of the Tolling Period. The PEC and the Stipulating Defendants hereby agree

to extend the Tolling Period set forth in CMO 12 for the Stipulating Defendants other than Angus
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International Safety Group until March 30, 2024 and for Angus International Safety Group until

June 30, 2024.

       7.        This order does not modify any other provision of CMO 12; all other provisions

remain in effect.

      AND IT IS SO ORDERED.


      February 9, 2024                                    s/Richard Mark Gergel
      Charleston, South Carolina                          Richard Mark Gergel
                                                          United States District Judge




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